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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 23-CV-80282-ROSENBERG


   ROBERT SCOT BUILDING VENTURE LLC;
   and RSBV Pathway LLC,

                                    Plaintiffs,

                            v.

   CREATIVE WEALTH MEDIA FINANCE CORP;
   and JASON CLOTH,

                                    Defendants.



       NOTICE OF ELECTRONICALLY FILING PLAINTIFF’S ADMITTED TRIAL
                               EXHIBITS

           Pursuant to Local Rule 5.3 and the Court’s May 1, 2024 Minute Entry [D.E. 111], Plaintiff

  RSBV Pathway LLC hereby provides notice of electronically filing the following trial exhibits,

  which were admitted into evidence during the trial held in this action on May 7-8, 2024. On May

  7, 2024, Plaintiff also physically delivered two USB drives containing electronic versions of all of

  the trial exhibits contained on Plaintiffs’ final Exhibit List [D.E. 118] to the Court’s deputy,

  including all of the admitted exhibits enumerated below and filed in connection herewith.

                                        INDEX OF EXHIBITS:

   Plaintiff’s           Description
   Exhibit
   P-003                 February 24, 2021 Email from J. Cloth to R. Harris re: Dates,
                         PLNTF_01665; Exhibit 3 to J. Cloth Deposition

   P-004                 February 24, 2021 Email from J. Cloth to R. Harris re: Dates,
                         PLNTF_01675-76; Exhibit 4 to J. Cloth Deposition
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   P-005               February 24, 2021 Email from J. Cloth to R. Harris re: Dates,
                       PLNTF_01677-78; Exhibit 5 to J. Cloth Deposition

   P-009               May 13, 2021 Email from R. Harris to J. Cloth, CC S. Schmidt Re: The
                       Pathway, CW_0001919-1920; Exhibit 9 to J. Cloth Deposition

   P-010               May 13, 2021 Email from J. Cloth to R. Harris, CC S. Schmidt Re: The
                       Pathway (“greenlit”), CW_0001918; Exhibit 10 to J. Cloth Deposition

   P-014               May 12, 2021 Email from J. Cloth to R. Harris, cc S. Schmidt re:
                       Pathway, PLNTF_02036; Exhibit 14 to J. Cloth Deposition

   P-017               January 27, 2022 Email from S. Schmidt to J. Schmidt, E. Schmidt and R.
                       Harris re: Update, CW_0002786-87; Exhibit 17 to J. Cloth Deposition

   P-019               May 18, 2022 Email from J. Cloth to R. Harris re: Pathway,
                       PLNTF_02258; Exhibit 19 to J. Cloth Deposition

   P-037               Executed Pathway Term Sheet, CW_0006102-6105

   P-044               Placeholder for March 1, 2022 Video excerpts of Zoom conference
                       between Jason Cloth, Robert Harris and others (submitted via USB
                       physically delivered to Court’s deputy during trial)

   P-045               Placeholder for June 7, 2022 Video excerpts of Zoom conference between
                       Jason Cloth, Robert Harris and others (submitted via USB physically
                       delivered to Court’s deputy during trial)




  Dated: May 9, 2024                          Respectfully submitted,


                                                    /s/ Shalia M. Sakona
                                                    Shalia M. Sakona
                                                    Florida Bar No. 107398
                                                    Scott N. Wagner
                                                    Fla. Bar No.: 51662
                                                    BILZIN SUMBERG BAENA
                                                    PRICE & AXELROD LLP
                                                    1450 Brickell Ave., Suite 2300
                                                     Miami, Florida 33131-3456
                                                     Telephone: 305-374-7580
                                                     Email: ssakona@bilzin.com
                                                     Email: swagner@bilzin.com
                                                     Email: eservice@bilzin.com
                                                     Email: asolis@bilzin.com
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                                                        Email: ekravets@bilzin.com

                                                        David B. Jonelis (pro hac vice)
                                                        Kelsey J. Leeker (pro hac vice)
                                                        LAVELY & SINGER
                                                        PROFESSIONAL CORPORATION
                                                        2049 Century Park East, Suite 2400
                                                        Los Angeles, California 90067
                                                        Tel.: (310) 556-3501
                                                        Email: djonelis@lavelysinger.com
                                                        Email: kleeker@lavelysinger.com

                                                        Attorneys for Plaintiffs Robert Scot Building
                                                        Venture LLC and RSBV Pathway LLC


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 9, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which will send a Notice of Electronic Filing to all

  counsel of record that are registered with the Court’s CM/ECF system. I further certify that

  concurrently with this filing, I served a copy of this document via electronic mail upon Jason Cloth.


                                                        /s/ Shalia Sakona
